

People v Robinson (2019 NY Slip Op 07292)





People v Robinson


2019 NY Slip Op 07292


Decided on October 9, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 9, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
SYLVIA O. HINDS-RADIX
VALERIE BRATHWAITE NELSON
ANGELA G. IANNACCI, JJ.


2018-00699

[*1]The People of the State of New York, respondent,
vDavid Robinson, appellant. (S.C.I. No. 2347/17)


Paul Skip Laisure, New York, NY (Samuel R. Feldman of counsel), for appellant.
John M. Ryan, Acting District Attorney, Kew Gardens, NY (John M. Castellano, Johnnette Traill, and Danielle S. Fenn of counsel; Morgan Greene on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Gia Lynne Morris, J.), imposed November 27, 2017, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
Contrary to the defendant's contention, the record of the plea proceeding demonstrated that the defendant knowingly, voluntarily, and intelligently waived his right to appeal (see People v Sanders, 25 NY3d 337, 340; People v Lopez, 6 NY3d 248, 256; People v Batista, 167 AD3d 69, 75 n 1; People v Pelaez, 100 AD3d 803). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 255, 256).
RIVERA, J.P., HINDS-RADIX, BRATHWAITE NELSON and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








